                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

OLIVIA VAN HOUSEN, STEFAN REBIC,                   Case No. 1:23-cv-15634
and NATE DLUZEK, individually and on
behalf of all others similarly situated,           Judge: Honorable LaShonda A. Hunt

        Plaintiffs,                                Magistrate: Honorable Gabriel A. Fuentes
vs.

AMAZON.COM, INC. D/B/A JUST WALK
OUT and AMAZON WEB SERVICES, INC.,

        Defendants.


      DEFENDANTS’ OPPOSED MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                    PURSUANT TO FED. R. CIV. P. 12(b)(6)

        Defendants Amazon.com, Inc. (“Amazon.com”) and Amazon Web Services (“AWS,” and

collectively, “Amazon”) hereby move this Court, pursuant to Rule 12(b)(6) of the Federal Rules

of Civil Procedure, for an order dismissing the Complaint of Plaintiffs Olivia Van Housen, Stefan

Rebic, and Nate Dluzek (“Plaintiffs”) with prejudice. Amazon has conferred with Plaintiffs and

Plaintiffs oppose this motion. In support of its Motion, Amazon states as follows:

        1.      On September 20, 2023, Plaintiffs filed the operative Complaint against Amazon

in the Circuit Court of Cook County, alleging violations of the Illinois Biometric Information

Privacy Act (“BIPA”), 740 ILCS 14/1 et seq. in connection with the “Just Walk Out” Technology

(“JWO Technology”) in Amazon Go and certain Amazon Fresh stores. Amazon filed a notice of

removal on November 3, 2023. (ECF No. 1.)

        2.      On November 9, 2023, the Court granted the parties’ agreed Motion for an

Extension of Time to Respond to Complaint and to Set a Briefing Schedule, adopting the briefing

schedule proposed by the parties: Amazon’s motion is due by December 4, 2023; Plaintiffs’

response is due January 8, 2024; and Amazon’s reply is due by February 5, 2024. (ECF No. 15.)




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       3.      Amazon now moves to dismiss this action with prejudice, as more fully set forth in

Amazon’s Memorandum of Law in Support of its Motion to Dismiss Plaintiffs’ Complaint, filed

contemporaneously herewith and incorporated herein. This Motion and the Memorandum are

supported by the concurrently-filed Declaration of Sourabh Mishra in Support and Exhibits 1 to 4.

       WHEREFORE, for the reasons set forth herein and in Amazon’s Memorandum of Law in

Support of Its Motion to Dismiss Plaintiffs’ Complaint Pursuant to Fed. R. Civ. P. 12(b)(6),

Amazon respectfully requests that this Court dismiss Complaint with prejudice and for such other

and further relief the Court deems necessary and proper in the interests of justice.



Dated: December 4, 2023                       Respectfully submitted,

                                              HUESTON HENNIGAN LLP




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